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 7
 8
                         UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
     MAMIE ESTES and SHAWN                     CASE NO. 2:20-cv-8275
11   REGAN, on behalf of themselves
                                               CLASS ACTION COMPLAINT FOR:
12   and all others similarly situated,
13                                             1. NEGLIGENCEY
                         Plaintiff,
                                               2. INVASION OF PRIVACY
14
                                               3. BREACH OF EXPRESS
15         v.                                     CONTRACT
                                               4. BREACH OF IMPLIED
16
     BLACKBAUD, INC.,                             CONTRACT
17                                             5. NEGLIGENCE PER SE
                         Defendant.            6. VIOLATION OF CALIFORNIA
18
                                                  UNFAIR COMPETITION LAW,
19                                                Cal. Bus. & Prof. Code § 17200, et
                                                  seq.
20
                                               7. VIOLATION OF CALIFORNIA
21                                                CONSUMER PRIVACY ACT, CA
                                                  CIVIL § 1798.100, et seq.
22
23                             CLASS ACTION COMPLAINT
24
           1.     Plaintiffs, Mamie Estes and Shawn Regan, individually and on behalf
25
     of all others similarly situated, bring this action against Defendant Blackbaud, Inc.
26
27   (“Blackbaud” or “Defendant”) to obtain damages, restitution, and injunctive relief
28
                                  CLASS ACTION COMPLAINT
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     for the Class, as defined below, from Defendant. Plaintiffs make the following
 1
 2   allegations upon information and belief, except as to their own actions, the
 3
     investigation of his counsel, and the facts that are a matter of public record.
 4
                                     NATURE OF THE ACTION
 5
 6          2.     This class action arises out of the May of 2020, ransomware attack and
 7
     data breach (“Data Breach”) of several schools, healthcare, non-profit companies,
 8
     and other organizations (collectively “Clients”) whose data and servers were
 9
10   managed, maintained, and secured by Blackbaud. The Clients’ data and servers
11
     contained identifying, sensitive, and personal data from students, patients, donors,
12
13   and other individual users, including Plaintiffs. As a result of the Data Breach,

14   Plaintiffs and thousands of other Class Member users suffered ascertainable losses
15
     in the form of out-of-pocket expenses and the value of their time reasonably
16
17   incurred to remedy or mitigate the effects of the attack. Additionally, Plaintiffs and

18   Class Members’ sensitive personal information—which was entrusted to
19
     Defendant, its officials, and agents—was compromised and unlawfully accessed
20
21   due to the Data Breach. Information compromised in the Data Breach included a

22   copy of a subset of information retained by Blackbaud, including names, addresses,
23
     phone numbers, and other personal information. True and accurate copies of the
24
25   notice of data breach emailed to Plaintiffs (collectively “Notice”) are attached

26   hereto, and Defendant’s exemplar Notice is available on its website. 1 Contrary to
27
28   1 https://www.blackbaud.com/securityincident   (Last Accessed August 12, 2020).

                                   CLASS ACTION COMPLAINT
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     the representations in the Notices regarding the type of accessed information, it is
 1
 2   believed based on statements by Defendant’s Clients directing Class Members to
 3
     monitor suspicious activity of their credit and accounts, that in addition to Social
 4
     Security Numbers, credit card numbers, bank account numbers, and additional
 5
 6   personally identifiable information (collectively “Private Information”) may also
 7
     have been compromised.
 8
           3.     Plaintiffs bring this class action lawsuit on behalf of those similarly
 9
10   situated, in order to: (1) address Defendant’s inadequate safeguarding of Class
11
     Members’ Private Information, which Defendant managed, maintained, and
12
13   secured; (2) for failing to provide timely and adequate notice to Plaintiffs and other

14   Class Members that their information had been subject to the unauthorized access
15
     of an unknown third-party; (3) for failing to identify all information that was
16
17   accessed; and (4) for failing to provide Plaintiffs and Class Members with any

18   redress for the Data Breach.
19
           4.     Defendant maintained and secured the Private Information in a
20
21   reckless manner, including, inter alia, failing to safeguard against ransomware

22   attacks. In particular, the Private Information was maintained on Defendant’s
23
     computer network in a condition vulnerable to cyberattacks. Upon information and
24
25   belief, the mechanism of the cyberattack and potential for improper disclosure of

26   Plaintiffs and Class Members’ Private Information was a known risk to Defendant,
27
28
                                 CLASS ACTION COMPLAINT
                                            3
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     and thus Defendant was on notice that failing to take steps necessary to secure the
 1
 2   Private Information from those risks left that property in a dangerous condition.
 3
            5.     In addition, Defendant and their employees failed to properly monitor
 4
     the computer network and systems that housed the Private Information; failed to
 5
 6   implement appropriate policies to ensure secure communications; and failed to
 7
     properly train employees regarding ransomware attacks. Had Defendant properly
 8
     monitored their network, security, and communications, it would have discovered
 9
10   the cyberattack sooner or prevented it altogether. In fact, Blackbaud has announced
11
     it has “already implemented changes to prevent this specific issue from happening
12
13   again.”2 In other words, had these changes been in place previously, this incident

14   would not have happened and Plaintiffs and Class Members’ Private Information
15
     would not have been accessed.
16
17          6.     Plaintiffs and Class Members’ identities and Private Information are

18   now at risk because of Defendant’s negligent conduct as the Private Information
19
     that Defendant collected and maintained was in the hands of data thieves.
20
21   Defendant cannot reasonably maintain that the data thieves destroyed the subset

22   copy simply because Defendant paid the ransom and the data thieves confirmed the
23
     copy was destroyed. In fact, the notices advise the affected individuals to monitor
24
25   their own credit, suspicious account activity, and notify the school or non-profit of

26   suspicious activity related to his or her credit. Despite this, Defendant has not
27
28   2 https://www.blackbaud.com/securityincident   (Last Accessed August 12, 2020).

                                   CLASS ACTION COMPLAINT
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     offered any manner of redress, including, inter alia, credit monitoring.
 1
 2         7.     Armed with the Private Information accessed in the Data Breach, data
 3
     thieves can commit a variety of crimes including, e.g., opening new financial
 4
     accounts in class members’ names, taking out loans in class members’ names, using
 5
 6   Plaintiffs and Class Members’ names to obtain medical services, using class
 7
     members’ information to obtain government benefits, filing fraudulent tax returns
 8
     using class members’ information, obtaining driver’s licenses in class members’
 9
10   names, but with another person’s photograph, and giving false information to police
11
     during an arrest.
12
13         8.     As a result of the Data Breach, Plaintiffs and Class Members have been

14   exposed to a heightened and imminent risk of fraud and identity theft. Plaintiffs
15
     and Class Members, at their own cost, must now and in the future closely monitor
16
17   their financial accounts to guard against identity theft.

18         9.     Consequently, Plaintiffs and Class Members will also incur out of
19
     pocket costs for, e.g., purchasing credit monitoring services, credit freezes, credit
20
21   reports, or other protective measures to deter and detect identity theft.

22         10.    By their Complaint, Plaintiffs seek to remedy these harms on behalf of
23
     themselves and all similarly-situated individuals, whose Private Information was
24
25   accessed during the Data Breach.

26         11.    Plaintiffs seek remedies including, but not limited to, compensatory
27
     damages, reimbursement of out-of-pocket costs, and injunctive relief including
28
                                  CLASS ACTION COMPLAINT
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     improvements to Defendant’s data security systems, future annual audits, and
 1
 2   adequate credit monitoring services funded by Defendant.
 3
           12.    Accordingly, Plaintiffs bring this action against Defendant seeking
 4
     redress for their unlawful conduct, and asserting claims for: (i) negligence; (ii)
 5
 6   intrusion upon seclusion; (iii) negligence per se; (iv) breach of express contract; (v)
 7
     breach of implied contract; and (vi) violations of state statutes.
 8
                                          PARTIES
 9
10         13.    Plaintiff Mamie Estes is a resident and citizen of Inglewood, Los
11
     Angeles County, California.
12
13         14.    Plaintiff Shawn Regan is a resident and citizen of San Pedro, Los

14   Angeles County, California.
15
           15.    Defendant Blackbaud is a Delaware corporation with its principal
16
17   place of business located on Daniel Island, Charleston County, South Carolina.

18         16.    Defendant manages, maintains, and provides cybersecurity for the data
19
     obtained by its clients who are, inter alia, schools and non-profit companies,
20
21   including Crystal Stairs, Inc., which maintained Plaintiffs’ Private Information.

22                            JURISDICTION AND VENUE
23
           17.    This Court has subject matter jurisdiction over this action pursuant to
24
25   28 U.S.C. § 1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005,

26   because at least one member of the Class, as defined below, is a citizen of a different
27
     state than Defendant, there are more than 100 members of the Class, and the
28
                                  CLASS ACTION COMPLAINT
                                             6
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     aggregate amount in controversy exceeds $5,000,000 exclusive of interest and
 1
 2   costs.
 3
              18.   This Court has personal jurisdiction over this action because
 4
     Defendant has sufficient minimum contacts with this District and has purposefully
 5
 6   availed itself of the privilege of doing business in this District such that it could
 7
     reasonably foresee litigation being brought in this District.
 8
              19.   Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because
 9
10   a substantial part of the events or omissions giving rise to the claim occurred in this
11
     District.
12
13                               DEFENDANT’S BUSINESS

14            20.   Since originally incorporating in New York in 1982,3 Blackbaud has
15
     become “the world’s leading cloud software company powering social good.” This
16
17   includes providing its clients with “cloud software, services, expertise, and data

18   intelligence…”      It is a publically traded company with clients that include
19
     “nonprofits,    foundations,    corporations,     education     institutions,   healthcare
20
21   institutions, and the individual change agents who support them.”4

22            21.   In 2019, Blackbaud reported that it had “45,000 customers located in
23
     over 100 countries,” with a “total addressable market (TAM)… greater than $10
24
25
26
     3 https://investor.blackbaud.com/static-files/9cd70119-4e13-4d47-b068-3c228c580417   (Last
27
          Accessed August 12, 2020).
28   4 https://www.blackbaud.com/company (Last Accessed August 12, 2020).


                                    CLASS ACTION COMPLAINT
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     billion.”5
 1
 2          22.    In the ordinary course of doing business with Defendant’s clients,
 3
     individuals are regularly required to provide Defendant’s clients with sensitive,
 4
     personal and private information that is then stored, maintained, and secured by
 5
 6   Defendant. This information includes or may include:
 7
                      • Name, address, phone number and email address;
 8
 9                    • Date of birth;

10                    • Demographic information;
11
                      • Social Security numbers;
12
13                    • Credit card account numbers;
14
                      • Bank account numbers;
15
                      • Educational history;
16
17                    • Healthcare information;
18
                      • Insurance information and coverage;
19
20                    • Photo identification;
21                    • Employer information;
22
                      • Donor contribution information; and
23
24                    • Other information that may be deemed necessary to provide
25
                          care.
26
27
28   5 https://investor.blackbaud.com/static-files/9cd70119-4e13-4d47-b068-3c228c580417   (Last

                                   CLASS ACTION COMPLAINT
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            23.    In its 2019 Annual Report, Blackbaud specifically addressed its known
 1
 2   susceptibility to cyberattacks. Specifically, the report states:
 3
            If the security of our software is breached, we fail to securely collect, store
 4          and transmit customer information, or we fail to safeguard confidential
            donor data, we could be exposed to liability, litigation, penalties and
 5
            remedial costs and our reputation and business could suffer.
 6
            Fundamental to the use of our solutions is the secure collection, storage and
 7          transmission of confidential donor and end user data and transaction data,
 8          including in our payment services. Despite the network and application
            security, internal control measures, and physical security procedures we
 9          employ to safeguard our systems, we may still be vulnerable to a security
10          breach, intrusion, loss or theft of confidential donor data and transaction
            data, which may harm our business, reputation and future financial
11          results. [Emphasis Added].
12
            Like many major businesses, we are, from time to time, a target of cyber-
13          attacks and phishing schemes, and we expect these threats to continue.
14          Because of the numerous and evolving cybersecurity threats, including
            advanced and persistent cyber-attacks, phishing and social engineering
15          schemes, used to obtain unauthorized access, disable or degrade systems have
16          become increasingly more complex and sophisticated and may be difficult
            to detect for periods of time, we may not anticipate these acts or respond
17          adequately or timely... [Emphasis Added]…
18          Further, the existence of vulnerabilities, even if they do not result in a security
19          breach, may harm client confidence and require substantial resources to
            address, and we may not be able to discover or remedy such security
20          vulnerabilities before they are exploited, which may harm our business,
21          reputation and future financial results.6
22          24.    Because of the highly sensitive and personal nature of the information
23
     Defendant maintains, manages, and secures with respect to it clients and their users,
24
25   Defendant has acknowledged to their clients and users that this information will be

26
27   6 https://investor.blackbaud.com/static-files/9cd70119-4e13-4d47-b068-3c228c580417   (Last
28      Accessed August 10, 2020).

                                     CLASS ACTION COMPLAINT
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     comprehensively secured.
 1
 2         25.    Blackbaud’s Privacy Policy North America (“Privacy Policy”)
 3
     expressly applies as follows:
 4
           At Blackbaud, we are committed to protecting your privacy. This Policy
 5
           applies to Blackbaud’s collection and use of personal data in connection with
 6         our marketing and provision of the Blackbaud Solutions, customer support
           and other services (collectively, the “Services”), for example if you are a
 7
           customer, visit the website, interact with us at industry conferences, or work
 8         for a current or prospective customer of the Services.
 9
           If you’re a constituent, supporter, patient or student of one of our customers,
10         to which we provide the Services, your data will be used in accordance with
           that customer’s privacy policy. In providing the Services, Blackbaud acts as
11
           a service provider and thus, this Policy will not apply to constituents of our
12         customers.7
13
           26.    With regard to securing its constituents, supporters, patients or
14
15   students of one of Defendant’s customers, Defendant further represents with regard

16   to the security of personal information:
17
           We restrict access to personal information collected about you at our website
18         to our employees, our affiliates’ employees, those who are otherwise
19         specified in this Policy or others who need to know that information to
           provide the Services to you or in the course of conducting our business
20         operations or activities. While no website can guarantee exhaustive security,
21         we maintain appropriate physical, electronic and procedural safeguards to
           protect your personal information collected via the website. We protect our
22         databases with various physical, technical and procedural measures and we
23         restrict access to your information by unauthorized persons.

24
25
26
27   7 https://www.blackbaud.com/company/privacy-policy/north-america   (Last Accessed August 12,
28      2020).

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              We also advise all Blackbaud employees about their responsibility to protect
 1
              customer data and we provide them with appropriate guidelines for adhering
 2            to our company’s business ethics standards and confidentiality policies.
              Inside Blackbaud, data is stored in password-controlled servers with limited
 3
              access.8
 4
              27.     Blackbaud has made additional commitments to the maintenance of
 5
 6   student’s private information. In April of 2015 with regard to its K-12 school
 7
     providers, Defendant signed a pledge to respect student data privacy to safeguard
 8
     student information. The Student Privacy Pledge, developed by the Future of
 9
10   Privacy Forum (FPF) and the Software & Information Industry Association (SIIA),
11
     was created to “safeguard student privacy in the collection, maintenance and use of
12
13   personal information.”9

14            28.     In signing the Student Privacy Pledge, Blackbaud specifically
15
     represented to students and parents of its K-12 school providers that it would, inter
16
17   alia, (1) “[m]aintain a comprehensive security program:” and (2) “[b]e transparent

18   about collection and use of student data.”10
19
              29.     In further support of this representation and promise to student and
20
21   parent users, Travis Warrant, president of Blackbaud’s K-12 Private Schools

22   Group, stated:
23
                    Blackbaud is committed to protecting sensitive student data and
24                  security… The Pledge will better inform our customers, service
25                  providers and the general public of our dedication to protecting student

26   8 Id.
     9 https://www.blackbaud.com/home/2015/04/22/blackbaud-signs-pledge-to-respect-student-data-
27
         privacy (Last Accessed August 12, 2020).
28   10 Id.


                                     CLASS ACTION COMPLAINT
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                    privacy.” The Pledge details ongoing industry practices that meet (and in
 1
                    some cases, exceed) all federal requirements, and encourages service
 2                  providers to more clearly articulate their data privacy practices.11
 3
 4            30.     Despite such representations and promises, Defendant failed to
 5
     adequately secure and protect numerous K-12 providers and thousands of students’
 6
     Private Information, by allowing the Private Information to be copied and
 7
 8   potentially used or sold at a later date.
 9
              31.     Further, due to the Health Information Portability and Accountability
10
     Act (HIPPA), Defendant had additional obligations to secure patient users’
11
12   information for healthcare Clients.
13
              32.     Defendant has further failed Plaintiffs and Class Members by failing
14
15   to adequately secure and protect their Private Information, by allowing the Private

16   Information to be copied and potentially used or sold at a later date.
17
              33.     Defendant further failed Plaintiffs and Class Members by failing to
18
19   adequately notify them of the ransomware attack or provide any remedy other than

20   late notice.
21
                         THE CYBERATTACK AND DATA BREACH
22
23            34.     Prior to the ransomware attack, clients, constituents, supporters,

24   patients, and students provided sensitive and identifying Private Information to
25
     Blackbaud as part of, inter alia, seeking education from K-12 school providers and
26
27
28   11 Id.


                                     CLASS ACTION COMPLAINT
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     universities; seeking healthcare from healthcare providers; making donations to
 1
 2   non-profit companies; and in other ways seeking services through Blackbaud’s
 3
     clients. When providing such information, these individuals had the expectation
 4
     that Defendant, as the manager and securer of this Private Information, would
 5
 6   maintain security against hackers and cyberattacks.
 7
            35.    Defendant maintained Plaintiffs and Class Members’ Private
 8
     Information on a shared network, server, and/or software.                  Despite its own
 9
10   awareness of steady increases of cyberattacks on health care, schools, and other
11
     facilities over the course of recent years, Defendant did not maintain adequate
12
13   security of Plaintiffs and Class Members’ data, to protect against hackers and

14   cyberattacks.
15
            36.    According to its own statements, in May of 2020, Defendant
16
17   discovered a ransomware attack that attempted to “disrupt business by locking

18   companies out of their own data and servers.”12                According to Defendant’s
19
     statements:
20
21          After discovering the attack, our Cyber Security team—together with
            independent forensics experts and law enforcement—successfully prevented
22          the cybercriminal from blocking our system access and fully encrypting files;
23          and ultimately expelled them from our system. Prior to our locking the
            cybercriminal out, the cybercriminal removed a copy of a subset of data from
24          our self-hosted environment. The cybercriminal did not access credit card
25          information, bank account information, or social security numbers. Because
            protecting our customers’ data is our top priority, we paid the cybercriminal’s
26          demand with confirmation that the copy they removed had been destroyed.
27          Based on the nature of the incident, our research, and third party (including

28   12 https://www.blackbaud.com/securityincident   (Last Accessed August 12, 2020).

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              law enforcement) investigation, we have no reason to believe that any data
 1
              went beyond the cybercriminal, was or will be misused; or will be
 2            disseminated or otherwise made available publicly… The subset of
              customers who were part of this incident have been notified and supplied
 3
              with additional information and resources. We apologize that this happened
 4            and will continue to do our very best to supply help and support as we and
              our customers jointly navigate this cybercrime incident.13
 5
 6            37.   Upon information and belief, the ransomware attack began in February
 7
     of 2020 and continued for approximately three months until it was stopped in May
 8
     of 2020.
 9
10            38.   Although Defendant claims that social security numbers, credit card
11
     information, or bank account information was not accessed, the Notices received
12
13   by Plaintiffs informed them that their social security and/or tax identification

14   information were in fact compromised during the Data Breach. Exhibits A and B.
15
              39.   Defendant did not have a sufficient process or policies in place to
16
17   prevent such cyberattack, which is evident by its own statements that it has “already

18   implemented changes to prevent this specific issue from happening again.”14
19
              40.   Defendant cannot reasonably rely on the word of data thieves or
20
21   “certificate of destruction” issued by those same thieves, that the copied subset of

22   any Private Information was destroyed. Further, upon information and belief,
23
     Defendant cannot be assured that in addition to Social Security numbers, Bank
24
25   Account and Credit Card numbers were not also accessed and retained by the data

26
27   13 Id.
28   14 https://www.blackbaud.com/securityincident   (Last Accessed August 12, 2020).

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     thieves. Defendant has failed to offer its clients or their users any remedy, including
 1
 2   credit monitoring.
 3
            41.    Despite having knowledge of the attack since at least May of 2020, it
 4
     is believed Defendant did not notify its affected clients until July or August of 2020
 5
 6   of the potentially compromised data.
 7
            42.    Defendant had obligations created by federal law, contracts, industry
 8
     standards, common law, and privacy representations made to Plaintiffs and Class
 9
10   Members, to keep their Private Information confidential and to protect it from
11
     unauthorized access and disclosure.
12
13          43.    Plaintiffs and Class Members provided their Private Information to

14   Defendant with the reasonable expectation and mutual understanding that
15
     Defendant would comply with their obligations to keep such information
16
17   confidential and secure from unauthorized access.

18          44.    Defendant’s data security obligations were particularly important
19
     given the substantial increase in cyberattacks and/or data breaches in its client’s
20
21   various industries preceding the date of the breach.

22          45.    Indeed, cyberattacks have become so notorious that the Federal Bureau
23
     of Investigation (“FBI”) and U.S. Secret Service have issued a warning to potential
24
25   targets so they are aware of, and prepared for, a potential attack.15

26
27   15 https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-service-warn-of-
28   targeted-ransomware (emphasis added) (Last Accessed August 12, 2020).

                                   CLASS ACTION COMPLAINT
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           46.    The increase in such attacks, and attendant risk of future attacks, was
 1
 2   widely known to the public and to anyone in Defendant’s industry, including by
 3
     Defendant’s own admissions in its 2019 Annual Report.
 4
           47.    Defendant breached its obligations to Plaintiffs and Class Members
 5
 6   and/or was otherwise negligent and reckless because it failed to properly maintain
 7
     and safeguard Defendant’s computer systems and data. Defendant’s unlawful
 8
     conduct includes, but is not limited to, the following acts and/or omissions:
 9
10                a. Failing to maintain an adequate data security system to reduce the
                     risk of data breaches and cyber-attacks;
11
12                b. Failing to adequately protect patients’ Private Information;
13
                  c. Failing to properly monitor their own data security systems for
14                   existing intrusions;
15
                  d. Failing to timely notify its Clients, Plaintiffs, and Class Members
16                   of the data breach; and
17
                  e. In other such ways to be discovered.
18
19
           48.    As the result of Defendant’s failure to take certain measures to prevent
20
21   the attack until after the attack occurred, Defendant negligently and unlawfully

22   failed to safeguard Plaintiffs and Class Members’ Private Information.
23
           49.    Accordingly, as outlined below, Plaintiffs and Class Members’ daily
24
25   lives were severely disrupted. Now Plaintiffs and Class Members face an increased

26   risk of fraud and identity theft.
27
28
                                  CLASS ACTION COMPLAINT
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      CYBERATTACKS AND DATA BREACHES CAUSE DISRUPTION AND
 1
         PUT CONSUMERS AT AN INCREASED RISK OF FRAUD AND
 2                       IDENTIFY THEFT
 3
              50.   Cyberattacks and data breaches of medical facilities, schools, and non-
 4
     profit entities are especially problematic because of the disruption they cause to the
 5
 6   overall daily lives of patients, students, donors, and other individuals affected by
 7
     the attack.
 8
              51.   The United States Government Accountability Office released a report
 9
10   in 2007 regarding data breaches (“GOA Report”) finding that victims of identity
11
     theft will face “substantial costs and time to repair the damage to their good name
12
13   and credit record.”16

14            52.   The FTC recommends that identity theft victims take several steps to
15
     protect their personal and financial information after a data breach, including
16
17   contacting one of the credit bureaus to place a fraud alert (consider an extended

18   fraud alert that lasts for seven years if someone steals their identity), reviewing
19
     their credit reports, contacting companies to remove fraudulent charges from their
20
21   accounts, placing a credit freeze on their credit, and correcting their credit reports.17

22
23
24
25
26   16 See“Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
     However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June
27   2007, https://www.gao.gov/new.items/d07737.pdf (last visited Apr. 12, 2019) (“GAO Report”).
28   17 See https://www.identitytheft.gov/Steps (last visited April 12, 2019).

                                   CLASS ACTION COMPLAINT
                                              17
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            53.     Identity thieves use stolen Private Information such as Social Security
 1
 2   numbers for a variety of crimes, including credit card fraud, phone or utilities fraud,
 3
     and bank/finance fraud.
 4
            54.     Identity thieves can also use Social Security numbers to obtain a
 5
 6   driver’s license or official identification card in the victim’s name, but with the
 7
     thief’s picture; use the victim’s name and Social Security number to obtain
 8
     government benefits; or file a fraudulent tax return using the victim’s information.
 9
10   In addition, identity thieves may obtain a job using the victim’s Social Security
11
     number, rent a house or receive medical services in the victim’s name, and may
12
13   even give the victim’s personal information to police during an arrest resulting in

14   an arrest warrant being issued in the victim’s name. A study by Identity Theft
15
     Resource Center shows the multitude of harms caused by fraudulent use of personal
16
17   and financial information:18

18
19                                [GRAPHIC ON FOLLOWING PAGE]
20
21
22
23
24
25
26
     18 “Credit Card and ID Theft Statistics” by Jason Steele, 10/24/2017, at:
27
     https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-
28       1276.php (last visited August 12, 2020).

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                                                18
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 1
 2
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 6
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 8
 9
10
11
12
13
14          55.     Private Information is a valuable property right.19 Its value is
15   axiomatic, considering the value of Big Data in corporate America and the
16
     consequences of cyber thefts include heavy prison sentences. This obvious risk to
17
18   reward analysis illustrates that Private Information has considerable market value.
19
            56.     It must also be noted there may be a substantial time lag – measured
20
     in years -- between when harm occurs versus when it is discovered, and also
21
22   between when Private Information and/or financial information is stolen and when
23
24
25
26    See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
27   Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
     (2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
28   a level comparable to the value of traditional financial assets.”) (citations omitted).

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     it is used. According to the U.S. Government Accountability Office, which
 1
 2   conducted a study regarding data breaches:
 3
           [L]aw enforcement officials told us that in some cases, stolen data may be
 4         held for up to a year or more before being used to commit identity theft.
           Further, once stolen data have been sold or posted on the Web, fraudulent use
 5
           of that information may continue for years. As a result, studies that attempt
 6         to measure the harm resulting from data breaches cannot necessarily rule out
           all future harm.
 7
 8   See GAO Report, at p. 29.
 9
           57.    Private Information and financial information are such valuable
10
     commodities to identity thieves that once the information has been compromised,
11
12   criminals often trade the information on the “cyber black-market” for years.
13
           58.    There is a strong probability that entire batches of stolen information
14
15   have been dumped on the black market and are yet to be dumped on the black

16   market, meaning Plaintiffs and Class Members are at an increased risk of fraud and
17
     identity theft for many years into the future. Thus, as the Notices advise, Plaintiffs
18
19   and Class Members must vigilantly monitor their financial and medical accounts

20   for many years to come. See Exhibits A and B.
21
                 PLAINTIFFS’ AND CLASS MEMBERS’ DAMAGES
22
23         59.    To date, Defendant has done nothing to provide Plaintiffs and Class

24   Members with relief for the damages they have suffered as a result of the Data
25
     Breach including, but not limited to, the costs of credit monitoring, as well as costs
26
27   and loss of time they incurred because of the stolen data.

28
                                 CLASS ACTION COMPLAINT
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            60.    Plaintiffs and Class Members have been damaged by the compromise
 1
 2   of their Private Information in the Data Breach.
 3
            61.    Plaintiffs’ Private Information was compromised as a direct and
 4
     proximate result of the Data Breach.         While the compromise of Plaintiffs’
 5
 6   information was known as early as May of 2020, neither Ms. Estes nor Ms. Regan
 7
     received a Notice until August 26, 2020. Exhibits A and B.
 8
            62.    Like Plaintiffs, other Class Members’ Private Information was
 9
10   compromised as a direct and proximate result of the Data Breach.
11
            63.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and
12
13   Class Members have been placed at an imminent, immediate, and continuing

14   increased risk of harm from fraud and identity theft.
15
            64.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and
16
17   Class Members have been forced to expend time dealing with the effects of the Data

18   Breach.
19
            65.    Plaintiffs and Class Members face substantial risk of out-of-pocket
20
21   fraud losses such as loans opened in their names, medical services billed in their

22   names, tax return fraud, utility bills opened in their names, credit card fraud, and
23
     similar identity theft.
24
25          66.    Plaintiffs and Class Members face substantial risk of being targeted for

26   future phishing, data intrusion, and other illegal schemes based on their Private
27
28
                                  CLASS ACTION COMPLAINT
                                             21
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     Information as potential fraudsters could use that information to more effectively
 1
 2   target such schemes to Plaintiffs and Class Members.
 3
              67.   Plaintiffs and Class Members may also incur out-of-pocket costs for
 4
     protective measures such as credit monitoring fees, credit report fees, credit freeze
 5
 6   fees, and similar costs directly or indirectly related to the Data Breach.
 7
              68.   Plaintiffs and Class Members also suffered a loss of value of their
 8
     Private Information when it was acquired by cyber thieves in the Data Breach.
 9
10   Numerous courts have recognized the propriety of loss of value damages in related
11
     cases.
12
13            69.   Plaintiffs and Class Members have spent and will continue to spend

14   significant amounts of time to monitor their financial, student, and medical accounts
15
     and records for misuse.
16
17            70.   Plaintiffs and Class Members have suffered or will suffer actual injury

18   as a direct result of the Data Breach. Like Plaintiffs, many victims suffered
19
     ascertainable losses in the form of out-of-pocket expenses and the value of their
20
21   time reasonably incurred to remedy or mitigate the effects of the Data Breach

22   relating to:
23
                    a. Finding fraudulent charges;
24
25                  b. Canceling and reissuing credit and debit cards;

26                  c. Purchasing credit monitoring and identity theft prevention;
27
28
                                   CLASS ACTION COMPLAINT
                                              22
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                  d. Addressing their inability to withdraw funds linked to
 1
                     compromised accounts;
 2
                  e. Taking trips to banks and waiting in line to obtain funds held in
 3
                     limited accounts;
 4
                  f. Placing “freezes” and “alerts” with credit reporting agencies;
 5
 6                g. Spending time on the phone with or at a financial institution to
                     dispute fraudulent charges;
 7
 8                h. Contacting financial institutions and closing or modifying financial
                     accounts;
 9
10                i. Resetting automatic billing and payment instructions from
                     compromised credit and debit cards to new ones;
11
12                j. Paying late fees and declined payment fees imposed as a result of
13                   failed automatic payments that were tied to compromised cards that
                     had to be cancelled; and
14
15                k. Closely reviewing and monitoring bank accounts and credit reports
                     for unauthorized activity for years to come.
16
17         71.    Moreover, Plaintiffs and Class Members have an interest in ensuring

18   that their Private Information, which is believed to remain in the possession of
19
     Defendant, is protected from further breaches by the implementation of security
20
21   measures and safeguards, including, but not limited to, making sure that the storage

22   of data or documents containing personal and financial information is not accessible
23
     online and that access to such data is password-protected.
24
25         72.    Further, as a result of Defendant’s conduct, Plaintiffs and Class

26   Members are forced to live with the knowledge that their Private Information—
27
     which contains the most intimate details about a person’s life, may be disclosed to
28
                                 CLASS ACTION COMPLAINT
                                            23
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     the entire world, thereby subjecting them to embarrassment and depriving them of
 1
 2   their right to privacy.
 3
           73.    As many of the purchasers of Private Information do not utilize the
 4
     information for years, Plaintiffs and Class Members are forced for long periods of
 5
 6   time to endure the fear of whether their information will be used.
 7
           74.    As a direct and proximate result of Defendant’s actions and inactions,
 8
     Plaintiffs and Class Members have suffered anxiety, emotional distress, and loss of
 9
10   privacy, and are at an increased risk of future harm.
11
                               CLASS ACTION ALLEGATIONS
12
13         75.    Plaintiffs brings this action on behalf of himself and on behalf of all

14   other persons similarly situated (“the Class”).
15
           76.    Plaintiffs proposes the following Class definition, subject to
16
17   amendment as appropriate:

18                All persons in the State of California whose Private Information was
19                compromised in the February through May of 2020 Data Breach
                  described by Defendant at www.blackbaud.com/securityincident
20
21   Excluded from the Class are Defendant’s officers, directors, and employees; any

22   entity in which Defendant has a controlling interest; and the affiliates, legal
23
     representatives, attorneys, successors, heirs, and assigns of Defendant. Excluded
24
25   also from the Class are members of the judiciary to whom this case is assigned, their

26   families and members of their staff.
27
28
                                  CLASS ACTION COMPLAINT
                                             24
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           77.    Numerosity. The members of the Class are so numerous that joinder
 1
 2   of all of them is impracticable. While the exact number of Class members is
 3
     unknown to Plaintiffs at this time, based on information and belief, the class consists
 4
     of approximately tens of thousands of persons whose data was compromised in Data
 5
 6   Breach.
 7
           78.    Commonality. There are questions of law and fact common to the
 8
     Class, which predominate over any questions affecting only individual Class
 9
10   Members. These common questions of law and fact include, without limitation:
11
                     a. Whether Defendant unlawfully used, maintained, lost, or
12                      disclosed Plaintiffs’ and Class Members’ Private Information;
13
                     b. Whether Defendant failed to implement and maintain
14                      reasonable security procedures and practices appropriate to the
15                      nature and scope of the information compromised in the Data
                        Breach;
16
17                   c. Whether Defendant’s data security systems prior to and during
                        the Data Breach complied with applicable data security laws and
18                      regulations;
19
                     d. Whether Defendant’s data security systems prior to and during
20                      the Data Breach were consistent with industry standards;
21
                     e. Whether Defendant owed a duty to Class Members to safeguard
22                      their Private Information;
23
                     f. Whether Defendant breached their duty to Class Members to
24                      safeguard their Private Information;
25
                     g. Whether computer hackers obtained Class Members’ Private
26                      Information in the Data Breach;
27
28
                                  CLASS ACTION COMPLAINT
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                     h. Whether Defendant knew or should have known that their data
 1
                        security systems and monitoring processes were deficient;
 2
                     i. Whether Plaintiffs and Class Members suffered legally
 3
                        cognizable damages as a result of Defendant’s misconduct;
 4
                     j. Whether Defendant’s conduct was negligent;
 5
 6                   k. Whether Defendant’s conduct was per se negligent;
 7
                     l. Whether Defendant’s acts, inactions, and practices complained
 8                      of herein amount to acts of intrusion upon seclusion under the
                        law;
 9
10                   m. Whether Defendant failed to provide notice of the Data Breach
                        in a timely manner, and;
11
12                   n. Whether Plaintiffs and Class Members are entitled to damages,
13                      treble damages, civil penalties, punitive damages, and/or
                        injunctive relief.
14
15          79.   Typicality. Plaintiffs’ claims are typical of those of other Class

16   Members because Plaintiffs’ information, like that of every other Class Member,
17
     was compromised in the Data Breach.
18
19          80.   Adequacy of Representation. Plaintiffs will fairly and adequately

20   represent and protect the interests of the members of the Class. Plaintiffs’ Counsel
21
     are competent and experienced in litigating class actions.
22
23          81.   Predominance. Defendant has engaged in a common course of conduct

24   toward Plaintiffs and Class Members, in that all the Plaintiffs and Class Members’
25
     data was stored on the same computer systems and unlawfully accessed in the same
26
27   way.   The common issues arising from Defendant’s conduct affecting Class

28
                                 CLASS ACTION COMPLAINT
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     Members, as described supra, predominate over any individualized issues.
 1
 2   Adjudication of these common issues in a single action has important and desirable
 3
     advantages of judicial economy.
 4
           82.    Superiority. A class action is superior to other available methods for
 5
 6   the fair and efficient adjudication of the controversy. Class treatment of common
 7
     questions of law and fact is superior to multiple individual actions or piecemeal
 8
     litigation. Absent a class action, most class members would likely find that the cost
 9
10   of litigating their individual claim is prohibitively high and would therefore have
11
     no effective remedy. The prosecution of separate actions by individual class
12
13   members would create a risk of inconsistent or varying adjudications with respect

14   to individual class members, which would establish incompatible standards of
15
     conduct for Defendant. In contrast, the conduct of this action as a class action
16
17   presents far fewer management difficulties, conserves judicial resources and the

18   parties’ resources, and protects the rights of each class member.
19
           83.    Defendant has acted on grounds that apply generally to the Class as a
20
21   whole, so that class certification, injunctive relief, and corresponding declaratory

22   relief are appropriate on a class-wide basis.
23
                          FOR A FIRST CAUSE OF ACTION
24
                                     NEGLIGENCE
25                   (On Behalf of Plaintiffs and All Class Members)
26
           84.    Plaintiffs re-allege and incorporate by reference Paragraphs 1 through
27
28   83 above, as if fully set forth herein.

                                  CLASS ACTION COMPLAINT
                                             27
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           85.    Defendant’s Clients required Plaintiffs and Class Members to submit
 1
 2   non-public personal information in order to obtain medical, educational, and other
 3
     services. Defendant had a duty to its Clients, Plaintiffs, and Class Members to
 4
     securely maintain the Private Information collected.
 5
 6         86.    By accepting the duty to maintain and secure this data in its computer
 7
     property, and sharing it and using it for commercial gain, Defendant had a duty of
 8
     care to use reasonable means to secure and safeguard its computer property—and
 9
10   Plaintiffs’ and Class Members’ Private Information held within it—to prevent
11
     disclosure of the information, and to safeguard the information from theft.
12
13   Defendant’s duty included a responsibility to implement processes by which it

14   could detect a breach of its security systems in a reasonably expeditious period of
15
     time and to give prompt notice to those affected in the case of a data breach and/or
16
17   ransomware attack.

18         87.    Defendant owed a duty of care to Plaintiffs and Class Members to
19
     provide data security consistent with industry standards and other requirements
20
21   discussed herein, and to ensure that its systems and networks, and the personnel

22   responsible for them, adequately protected the Private Information.
23
           88.    Defendant’s duty of care to use reasonable security measures arose as
24
25   a result of the special relationship that existed between Defendant and its Clients

26   and Users, which is recognized by Defendants Policy Notice North America, as
27
     well as laws and regulations. Defendant was in a position to ensure that its systems
28
                                 CLASS ACTION COMPLAINT
                                            28
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     were sufficient to protect against the foreseeable risk of harm to Class Members
 1
 2   from a ransomware attack and/or data breach.
 3
           89.      Defendant had a specific duty to employ reasonable security measures
 4
     under Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which
 5
 6   prohibits “unfair . . . practices in or affecting commerce,” including, as interpreted
 7
     and enforced by the FTC, the unfair practice of failing to use reasonable measures
 8
     to protect confidential data.
 9
10         90.      Defendant’s duty to use reasonable care in protecting confidential data
11
     arose not only as a result of the statutes and regulations described above, but also
12
13   because Defendant is bound by industry standards to protect confidential Private

14   Information.
15
           91.      Defendant breached its duties, and thus was negligent, by failing to use
16
17   reasonable measures to protect Class Members’ Private Information. The specific

18   negligent acts and omissions committed by Defendant include, but are not limited
19
     to, the following:
20
21         a.       Failing to adopt, implement, and maintain adequate security measures

22                  to safeguard Class Members’ Private Information;
23
           b.       Failing to adequately monitor the security of their networks and
24
25   systems;

26         c.       Failure to periodically ensure that their email system had plans in place
27
                    to maintain reasonable data security safeguards;
28
                                     CLASS ACTION COMPLAINT
                                                29
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           d.     Allowing unauthorized access to Class Members’ Private Information;
 1
 2         e.     Failing to detect in a timely manner that Class Members’ Private
 3
                  Information had been compromised; and
 4
           f.     Failing to timely notify Class Members about the Ransomware Attack
 5
 6                so that they could take appropriate steps to mitigate the potential for
 7
                  identity theft and other damages.
 8
           92.    It was foreseeable that Defendant’s failure to use reasonable measures
 9
10   to protect Class Members’ Private Information would result in injury to Class
11
     Members. Further, the breach of security was reasonably foreseeable given the
12
13   known high frequency of ransomware attacks and data breaches in the Clients’

14   various industries.
15
           93.    It was therefore foreseeable that the failure to adequately safeguard
16
17   Class Members’ Private Information would result in one or more types of injuries

18   to Class Members.
19
           94.    Plaintiffs and Class Members are entitled to compensatory and
20
21   consequential damages suffered as a result of the Data Breach.

22         95.    Plaintiffs and Class Members are also entitled to injunctive relief
23
     requiring Defendant to, e.g.: (i) strengthen its data security systems and monitoring
24
25   procedures; (ii) submit to future annual audits of those systems and monitoring

26   procedures; and (iii) immediately provide adequate credit monitoring to all Class
27
     Members.
28
                                 CLASS ACTION COMPLAINT
                                            30
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                        FOR A SECOND CAUSE OF ACTION
 1
                              INVASION OF PRIVACY
 2                   (On Behalf of Plaintiffs and All Class Members)
 3
           96.    Plaintiffs repeat and re-allege each and every allegation contained in
 4
     Paragraphs 1 through 95, as if fully set forth herein.
 5
 6         97.    The State of California recognizes the common law tort of invasion of
 7
     privacy, In Diaz v. Oakland Tribune, Inc., et. al, the appellate court accurately
 8
     discerned the following elements of the public disclosure tort: “(1) public disclosure
 9
10   (2) of a private fact (3) which would be offensive and objectionable to the
11
     reasonable person and (4) which is not of legitimate public concern.” 139
12
13   Cal.App.3d at 126, 188 Cal.Rptr. 762 (1983).

14         98.    Plaintiffs and Class Members had a reasonable expectation of privacy,
15
     and freedom from exposure, in the Private Information Defendant mishandled.
16
17         99.    Defendant’s conduct as alleged above intruded upon Plaintiffs and

18   Class Members’ private aspects under common law.
19
           100. Defendant’s intrusion was substantial and unreasonable enough to be
20
21   legally cognizable, in that the reasonable expectation of persons of normal and

22   ordinary sensibilities, including Plaintiffs, is that the Private Information disclosed
23
     to Defendant’s Clients would be properly maintained and secured.
24
25         101. By failing to keep Plaintiffs’ and Class Members’ Private Information

26   safe, and by misusing and/or disclosing said information to unauthorized parties for
27
28
                                  CLASS ACTION COMPLAINT
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     unauthorized use, Defendant intentionally invaded Plaintiffs’ and Class Members’
 1
 2   privacy by:
 3
           a.      Intentionally and substantially intruding into Plaintiffs’ and Class
 4
                   Members’ private affairs in a manner that identifies Plaintiffs and
 5
 6                 Class Members and that would be highly offensive and objectionable
 7
                   to a reasonable person; and
 8
           b.      Intentionally publicizing private facts about Plaintiffs and Class
 9
10                 Members, which is highly offensive and objectionable to a reasonable
11
                   person; and
12
13         c.      Intentionally causing anguish or suffering to Plaintiffs and Class

14   Members.
15
           102. Defendant knew that ordinary reasonable person in Plaintiffs’ or a
16
17   Class Member’s position would consider Defendant’s intentional actions highly

18   offensive and objectionable.
19
           103. Defendant invaded Plaintiffs’ and Class Members’ right to privacy and
20
21   intruded into Plaintiffs’ and Class Members’ private affairs by intentionally

22   misusing and/or disclosing their Private Information without their informed,
23
     voluntary, affirmative, and clear consent.
24
25         104. Defendant intentionally concealed from Plaintiffs and Class Members

26   an incident that misused and/or disclosed their Private information without their
27
     informed, voluntary, affirmative, and clear consent.
28
                                 CLASS ACTION COMPLAINT
                                            32
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           105. As a proximate result of such intentional misuse and disclosures,
 1
 2   Plaintiffs’ and Class Members’ reasonable expectations of privacy in their Private
 3
     Information was unduly frustrated and thwarted. Defendant’s conduct amounted to
 4
     a substantial and serious invasion of Plaintiffs’ and Class Members’ protected
 5
 6   privacy interests causing anguish and suffering such that ordinary reasonable person
 7
     would consider Defendant’s intentional actions or inaction highly offensive and
 8
     objectionable.
 9
10         106. In failing to protect Plaintiffs’ and Class Members’ Private
11
     Information, and in intentionally misusing and/or disclosing their Private
12
13   Information, Defendant acted with intentional malice and oppression and in

14   conscious disregard of Plaintiffs’ and Class Members’ rights to have such
15
     information kept confidential and private. Plaintiffs, therefore, seeks an award of
16
17   damages on behalf of himself and the Class,

18                        FOR A THIRD CAUSE OF ACTION
19                        BREACH OF EXPRESS CONTRACT
                      (On Behalf of Plaintiffs and All Class Members)
20
21         107. Plaintiffs re-allege and incorporate by reference Paragraphs 1 through

22   106 above, as if fully set forth herein.
23
           108. Plaintiffs and members of the Class allege that they were the direct or
24
25   third-party beneficiaries of valid and enforceable express contracts, with Defendant

26   (including, inter alia, Privacy Policy North America).
27
           109. In fact, Plaintiffs’ Privacy Policy North America expressly extends to
28
                                  CLASS ACTION COMPLAINT
                                             33
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     any “constituent, supporter, patient or student of one of [Blackbaud’s]
 1
 2   customers…”20
 3
            110. The valid and enforceable express contracts that Plaintiffs, Class
 4
     Members, and Defendant’s Clients entered into with Defendant include
 5
 6   Defendant’s promise to protect Private Information given to Defendant’s Clients
 7
     and otherwise maintained and secured by Defendant.
 8
            111.    Under these express contracts, Defendant promised and were
 9
10   obligated to protect Plaintiffs’ and the Class Members’ Private Information. In
11
     exchange, Defendant’s Clients, Plaintiffs, and members of the Class agreed to pay
12
13   money for these services.

14          112. The protection of Plaintiffs’ and Class Members’ Private Information
15
     were material aspects of these contracts.
16
17          113. At all relevant times, Defendant expressly represented in its Privacy

18   Policy North America as follows:
19
            While no website can guarantee exhaustive security, we maintain appropriate
20          physical, electronic and procedural safeguards to protect your personal
21          information collected via the website. We protect our databases with various
            physical, technical and procedural measures and we restrict access to your
22          information by unauthorized persons. We also advise all Blackbaud
23          employees about their responsibility to protect customer data and we provide
            them with appropriate guidelines for adhering to our company’s business
24          ethics standards and confidentiality policies.
25
26
27   20 https://www.blackbaud.com/company/privacy-policy/north-america   (Last Accessed August
28   12, 2020).

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           114. Defendant’s express representations, including, but not limited to,
 1
 2   express representations found in its Privacy Policy, formed an express contract
 3
     requiring Defendant to implement data security adequate to safeguard and protect
 4
     the privacy of Plaintiffs’ and Class Members’ Private Information.
 5
 6         115. Consumers of healthcare and education, as well as non-profit donors,
 7
     value their privacy, the privacy of their dependents, and the ability to keep their
 8
     Private Information associated with healthcare, education, and other institutions
 9
10   private. To customers such as Plaintiffs and Class Members, maintenance and
11
     security of Private Information that does not adhere to industry standard data
12
13   security protocols to protect Private Information is fundamentally less useful and

14   less valuable than such services that adhere to industry-standard data security.
15
     Plaintiffs and Class Members would not have given Defendant’s Clients and
16
17   Defendants their Private Information, and otherwise entered into these contracts

18   with Defendant and/or its Clients as a direct or third-party beneficiary without an
19
     understanding that their Private Information would be safeguarded and protected.
20
21         116. A meeting of the minds occurred, as Plaintiffs and members of the

22   Class provided their Private Information to Defendant and/or its affiliated Clients,
23
     and expected protection of their Private Information.
24
25         117. Plaintiffs and Class Members performed their obligations under the

26   contract, including when they paid for services provided by Defendants’ Clients or
27
     otherwise donated money.
28
                                 CLASS ACTION COMPLAINT
                                            35
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           118. Defendant materially breached its contractual obligation to protect the
 1
 2   Private Information Defendant gathered when the information was accessed or
 3
     exfiltrated by unauthorized personnel as part of the Data Breach.
 4
           119. Defendant materially breached the terms of these express contracts,
 5
 6   including, but not limited to, the terms stated in the relevant Privacy Policy.
 7
     Defendant did not “maintain appropriate physical, electronic and procedural
 8
     safeguards to protect your personal information,” “protect [its] databases with
 9
10   various physical, technical and procedural measures and [we] restrict access to your
11
     information by unauthorized persons,” or otherwise adequately train employees.
12
13         120. Defendant did not comply with industry standards, or otherwise

14   protect Plaintiffs’ and the Class Members’ Private Information, as set forth above.
15
           121. The Data Breach was a reasonably foreseeable consequence of
16
17   Defendant’s actions in breach of these contracts.

18         122. As a result of Defendant’s failure to fulfill the data security protections
19
     promised in these contracts, Plaintiffs and Class Members did not receive the full
20
21   benefit of the bargain, and instead received services that were of a diminished value

22   to that described in the contracts. Plaintiffs and Class Members therefore were
23
     damaged in an amount at least equal to the difference in the value of the services
24
25   with data security protection they paid for and the services they received or

26   provided.
27
28
                                 CLASS ACTION COMPLAINT
                                            36
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           123. Had Defendant disclosed that its security was inadequate or that it did
 1
 2   not adhere to industry-standard security measures, the Plaintiffs, the Class
 3
     Members, or any reasonable person would not have accepted or purchased services
 4
     from Defendant and/or their Clients which required providing Private Information.
 5
 6         124. As a direct and proximate result of the Data Breach, Plaintiffs and
 7
     Class Members have been harmed and have suffered, and will continue to suffer,
 8
     actual damages and injuries, including without limitation the release, disclosure,
 9
10   and publication of their Private Information, the loss of control of their Private
11
     Information, the imminent risk of suffering additional damages in the future, out-
12
13   of-pocket expenses, and the loss of the benefit of the bargain they had struck with

14   Defendant.
15
           125. Plaintiffs and Class Members are entitled to compensatory and
16
17   consequential damages suffered as a result of the Data Breach.

18                      FOR A FOURTH CAUSE OF ACTION
19                       BREACH OF IMPLIED CONTRACT
                     (On Behalf of Plaintiffs and All Class Members)
20
21         126. Plaintiffs re-allege and incorporate by reference Paragraphs 1 through

22   125 above, as if fully set forth herein.
23
           127. When Plaintiffs and Class Members provided their Private Information
24
25   to Defendant and Defendant’s Clients in exchange for Defendant and Defendant’s

26   Clients’ services, they entered into implied contracts with Defendant pursuant to
27
     which Defendant agreed to reasonably protect such information.
28
                                  CLASS ACTION COMPLAINT
                                             37
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           128. Defendant solicited and invited Class Members to provide their Private
 1
 2   Information as part of Defendant’s regular business practices, including through its
 3
     Privacy Policy. Plaintiffs and Class Members accepted Defendant’s offers and
 4
     provided their Private Information to Defendant.
 5
 6         129. In entering into such implied contracts, Plaintiffs and Class Members
 7
     reasonably believed and expected that Defendant’s data security practices complied
 8
     with relevant laws and regulations, and were consistent with industry standards.
 9
10         130. Plaintiffs and Class Members accepted service from, and paid money
11
     to Defendant’s Clients which was conferred upon Defendant, and through which
12
13   Plaintiffs and Class Members reasonably believed and expected that Defendant

14   would use part of those funds to maintain adequate data security. Defendant failed
15
     to do so.
16
17         131. Plaintiffs and Class Members would not have entrusted their Private

18   Information to Defendant in the absence of the implied contract between them and
19
     Defendant to keep their information reasonably secure.        Plaintiffs and Class
20
21   Members would not have entrusted their Private Information to Defendant in the

22   absence of their implied promise to monitor its computer systems and networks to
23
     ensure that it adopted reasonable data security measures.
24
25         132. Plaintiffs and Class Members fully and adequately performed their

26   obligations under the implied contracts with Defendant.
27
28
                                 CLASS ACTION COMPLAINT
                                            38
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           133. Defendant breached its implied contracts with Class Members by
 1
 2   failing to safeguard and protect their Private Information.
 3
           134. As a direct and proximate result of Defendant’s breaches of the implied
 4
     contracts, Class Members sustained damages as alleged herein.
 5
 6         135. Plaintiffs and Class Members are entitled to compensatory and
 7
     consequential damages suffered as a result of the Data Breach.
 8
           136. Plaintiffs and Class Members are also entitled to injunctive relief
 9
10   requiring Defendant to, e.g., (i) strengthen their data security systems and
11
     monitoring procedures; (ii) submit to future annual audits of those systems and
12
13   monitoring procedures; and (iii) immediately provide adequate credit monitoring to

14   all Class Members.
15
                          FOR A FIFTH CAUSE OF ACTION
16                              NEGLIGENCE PER SE
17                   (On Behalf of Plaintiffs and All Class Members)

18         137. Plaintiffs re-allege and incorporate by reference Paragraphs 1 through
19
     136, above as if fully set forth herein.
20
21         138. Pursuant to the Federal Trade Commission Act (15 U.S.C. § 45),

22   Defendant had a duty to provide fair and adequate computer systems and data
23
     security practices to safeguard Plaintiffs’ and Class Members’ Private Information.
24
25         139. Pursuant to the Gramm-Leach-Bliley Act (15 U.S.C. § 6801),

26   Defendant had a duty to protect the security and confidentiality of Plaintiffs’ and
27
     Class Members’ Private Information.
28
                                  CLASS ACTION COMPLAINT
                                             39
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           140. Defendant breached its duties to Plaintiffs and Class Members under
 1
 2   the Federal Trade Commission Act and the Gramm-Leach-Bliley Act by failing to
 3
     provide fair, reasonable, or adequate computer systems and data security practices
 4
     to safeguard Plaintiffs’ and Class Members’ Private Information.
 5
 6         141. Defendant’s failure to comply with applicable laws and regulations
 7
     constitutes negligence per se.
 8
           142. But for Defendant’s wrongful and negligent breach of its duties owed
 9
10   to Plaintiffs and Class Members, Plaintiffs and Class Members would not have been
11
     injured.
12
13         143. The injury and harm suffered by Plaintiffs and Class Members was the

14   reasonably foreseeable result of Defendant’s breach of its duties. Defendant knew
15
     or should have known that it was failing to meet its duties, and that Defendant’s
16
17   breach would cause Plaintiffs and Class Members to experience the foreseeable

18   harms associated with the exposure of their Private Information.
19
           144. As a direct and proximate result of Defendant’s negligent conduct,
20
21   Plaintiffs and Class Members have suffered injury and are entitled to compensatory,

22   consequential, and punitive damages in an amount to be proven at trial.
23
24
25
26
27
28
                                 CLASS ACTION COMPLAINT
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                   FOR A SIXTH CAUSE OF ACTION
 1
     VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW (UCL),
 2                 Cal. Bus. and Prof. Code § 17200 et seq.
               (On Behalf of Plaintiffs and All Class Members)
 3
 4         145. Plaintiffs re-allege and incorporate by reference Paragraphs 1 through
 5
     144 above, as if fully set forth herein.
 6
           146. Defendant has violated Cal. Bus. and Prof. Code § 17200 et seq. by
 7
 8   engaging in unlawful, unfair or fraudulent business acts and practices and unfair,
 9
     deceptive, untrue or misleading advertising that constitute acts of “unfair
10
     competition” as defined in Cal. Bus. Prof. Code § 17200 with respect to the data
11
12   services provided to Plaintiffs and Class Members.
13
           147. Plaintiffs and Class Members entrusted Defendant with their Private
14
15   Information.

16         148. Defendant stored the Personal Information of the Plaintiffs and Class
17
     Members on its data servers. Defendant knew or should have known they did not
18
19   employ reasonable, industry standard, and appropriate security measures that

20   complied “with federal regulations,” which would have kept the Personal
21
     Information of the Plaintiffs and Class Members secure and prevented the loss or
22
23   misuse of the Personal Information. Defendant became aware of breaches of its

24   systems' security in May of 2020, but did not disclose to the Plaintiffs and Class
25
     Members that its data systems were not secure until August of 2020.
26
27
28
                                  CLASS ACTION COMPLAINT
                                             41
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           149. Plaintiffs and Class Members were entitled to assume, and did assume,
 1
 2   that Defendant would take appropriate measures to keep their Personal Information
 3
     safe. Defendant was in sole possession of and had a duty to disclose the material
 4
     information that Personal Information was vulnerable to hackers because
 5
 6   Defendant's security measures were inadequate. Defendant did not disclose at any
 7
     time that Personal Information was vulnerable to hackers.
 8
           150. Defendant violated the UCL by misrepresenting, both by affirmative
 9
10   conduct and by omission, the safety of its many systems and services, specifically
11
     the security thereof, and its ability to safely store the Personal Information of the
12
13   Plaintiffs and Class Members. Defendant also violated the UCL by failing to

14   implement reasonable and appropriate security measures or follow industry
15
     standards for data security, and by failing to immediately notify Plaintiffs and Class
16
17   Members that its systems had been breached and were insecure. If Defendant had

18   complied with these legal requirements, Plaintiffs and Class Members would not
19
     have suffered the damages related to the Data Breach.
20
21         151. In addition, Defendant engaged in unlawful acts and practices with

22   respect to its services by failing to disclose the security breaches of its systems to
23
     the Plaintiffs and Class Members in a timely and accurate manner, contrary to the
24
25   duties imposed by Cal. Civ. Code § 1798.82. Aware that its systems' security was

26   breached as of May 2020, Defendant did not provide any notice of a breach until
27
     August 2020. This delay in providing notice was unreasonable and resulted in
28
                                 CLASS ACTION COMPLAINT
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     Personal Information being compromised, sold, or otherwise fraudulently used after
 1
 2   the breach. Had the Plaintiffs and Class Members been provided reasonable notice
 3
     that Defendant’s systems had been breached and their Personal Information
 4
     potentially exposed, the Plaintiffs and Class Members could have engaged in
 5
 6   mitigation efforts, including, but not limited to, obtaining credit monitoring
 7
     services.
 8
           152. Furthermore, as alleged above, Defendant’s failure to secure
 9
10   consumers' Personal Information violates the FTCA and therefore violates the UCL.
11
           153. Defendant did not afford Plaintiffs and Class Members equal or ample
12
13   opportunity to make any inspection to determine Defendant’s data security or to

14   otherwise ascertain the truthfulness of Defendant’s direct and indirect
15
     representations regarding data security, including its failure to alert customers that
16
17   its data systems were not secure and, thus, were vulnerable to attack.

18         154. Had Defendant disclosed to Plaintiffs and Class Members that its data
19
     systems were not secure and, thus, vulnerable to attack, Plaintiffs and Class
20
21   Members would not have provided Personal Information to Defendant’s clients.

22         155. As a direct result of their reliance upon Defendant to be truthful in its
23
     disclosures and non-disclosures regarding the vulnerability of its POS and data
24
25   systems, Plaintiffs and Class Members provided Defendant with Personal

26   Information during the Data Breach period and after Defendant knew that its
27
28
                                 CLASS ACTION COMPLAINT
                                            43
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     systems had been breached by ransomware. As a result, Personal Information was
 1
 2   compromised, causing the Plaintiffs and Class Members to suffer damages.
 3
           156. As a direct result of Defendant's refusal to disclose that its data systems
 4
     were not secure, Plaintiffs and Class Members:
 5
 6                a. entered into transactions costing money or property that they
 7
                     otherwise would not have entered into;
 8
                  b. provided Personal Information that they otherwise would not have
 9
10                   provided;
11
                  c. had the value of their Personal Information diminished;
12
13                d. had their Personal Information compromised, causing losses and

14                   damages, and were thereby deprived of money and property.
15
           157. As a direct and proximate result of Defendant’s violation of the UCL,
16
17   the Plaintiffs and Class Members suffered damages including, but not limited to:

18   diminution of their Personal Information damages from lost time and effort to
19
     mitigate the actual and potential impact of the Data Breach on their lives including,
20
21   inter alia, by placing “freezes” and “alerts” with credit reporting agencies,

22   contacting their financial institutions, closing or modifying financial accounts,
23
     closely reviewing and monitoring their credit reports and accounts for unauthorized
24
25   activity, and filing police reports, and damages from identity theft, which may take

26   months if not years to discover and detect, given the far-reaching, adverse and
27
     detrimental consequences of identity theft and loss of privacy. In addition, their
28
                                 CLASS ACTION COMPLAINT
                                            44
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     Personal Information was taken and is in the hands of those who will use it for their
 1
 2   own advantage, or is being sold for value, making it clear that the hacked
 3
     information is of tangible value. The nature of other forms of economic damage and
 4
     injury may take years to detect, and the potential scope can only be assessed after a
 5
 6   thorough investigation of the facts and events surrounding the theft mentioned
 7
     above.
 8
           158. As a direct and proximate result of Defendant’s unlawful practices and
 9
10   acts, the Plaintiffs and Class Members were injured and lost money or property,
11
     including but not limited to the loss of their legally protected interest in the
12
13   confidentiality and privacy of their Personal Information, and additional losses

14   described above.
15
           159. Defendant knew or should have known that its computer systems and
16
17   data security practices were inadequate to safeguard Plaintiffs’ and Class Members'

18   Personal Information and that the risk of a data breach or theft was highly likely.
19
     Defendant's actions in engaging in the above-named unlawful practices and acts
20
21   were negligent, knowing and willful, and/or wanton and reckless with respect to the

22   rights of Plaintiffs and members of the Class.
23
           160. The Plaintiffs and Class Members seek relief under Cal. Bus. & Prof.
24
25   Code § 17200, et. seq., including, but not limited to, restitution to Plaintiffs and

26   Class Members of money or property that Defendant may have acquired by means
27
     of its unlawful, and unfair business practices, disgorgement of all profits accruing
28
                                 CLASS ACTION COMPLAINT
                                            45
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     to Defendant because of its unlawful and unfair business practices as restitution,
 1
 2   declaratory relief, attorney's fees and costs (pursuant to Cal. Code Civ. Proc. §
 3
     1021.5), and injunctive or other equitable relief.
 4
 5
                  FOR A SEVENTH CAUSE OF ACTION
 6     VIOLATION OF CALIFORNIA CONSUMER PRIVACY ACT (CCPA),
                        CA CIVIL § 1798.100, et seq.
 7
                (On Behalf of Plaintiffs and All Class Members)
 8
           161. Plaintiffs re-allege and incorporate by reference Paragraphs 1 through
 9
10   160 above, as if fully set forth herein.
11         162. Defendant is a Business and/or Service Provider within the meaning
12
     of the CCPA.
13
14         163. Defendant collects Personal Information which identifies, relates to,
15   describes, is capable of being associated with, or could reasonably be linked,
16
     directly or indirectly, with a particular consumer or household, within the meaning
17
18   of the CCPA.
19         164. Plaintiffs are Consumers within the meaning of the CCPA.
20
           165. As a business that owns, licenses, and/or maintains Personal
21
22   Information within the meaning of California Civil Code § 1798.81.5, Defendant
23   had a duty to implement and maintain reasonable security procedures and practices
24
     appropriate to the nature of the information maintained, to protect the information
25
26   from unauthorized access, destruction, use, modification, and disclosure. Defendant
27
     breached its duty by:
28
                                  CLASS ACTION COMPLAINT
                                             46
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                  a. failing implement processes by which it could detect a breach of its
 1
 2                    security systems in a reasonably expeditious period of time and to
 3
                      give prompt notice to those affected in the case of a data breach
 4
                      and/or ransomware attack;
 5
 6                b. failing to provide data security consistent with industry standards
 7
                      and other requirements as previously discussed herein;
 8
                  c. failing to ensure that its systems and networks, and the personnel
 9
10                    responsible for them, adequately protected the Private Information.
11
           166. Plaintiffs’ names and Social Security numbers, which they were
12
13   informed were stolen and/or otherwise disclosed as a result of the Data Breach, are

14   personal information within the definition of California Civil Code § 1798.81.5,
15
     and Defendant’s violation of its duty to maintain reasonable security procedures
16
17   and practices with regard to their Personal Information was the direct and proximate

18   cause of its theft and/or disclosure.
19
           167. Plaintiffs and Class Members seek relief under the CCPA, California
20
21   Civil Code § 1798.100, et seq. to recover statutory damages, injunctive or

22   declaratory relief, and any other relief the court deems proper. in an amount not less
23
     than one hundred dollars ($100) and not greater than seven hundred and fifty ($750)
24
25   per consumer per incident or actual damages, whichever is greater.

26         168. On or about September 10, 2020, Plaintiffs provided written notice to
27
     Defendant via Certified Mail, Return Receipt Requested, of its violations of the
28
                                  CLASS ACTION COMPLAINT
                                             47
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     California Consumer Privacy Act (“CCPA”), California Civil Code § 1798.100, et
 1
 2   seq. Plaintiffs will seek to amend this claim after Defendant responds to their
 3
     requests as stated in the CCPA notice letter.
 4
                                  PRAYER FOR RELIEF
 5
 6         WHEREFORE, Plaintiffs prays for judgment as follows:
 7
              a) For an Order certifying this action as a class action and appointing
 8
                  Plaintiffs and his Counsel to represent the Class;
 9
10            b) For equitable relief enjoining Defendant from engaging in the
11
                  wrongful conduct complained of herein pertaining to the misuse and/or
12
13                disclosure of Plaintiffs’ and Class Members’ Private Information, and

14                from refusing to issue prompt, complete and accurate disclosures to
15
                  Plaintiffs and Class Members;
16
17            c) For equitable relief compelling Defendant to utilize appropriate

18                methods and policies with respect to consumer data collection, storage,
19
                  and safety, and to disclose with specificity the type of Private
20
21                Information compromised during the Data Breach;

22            d) For equitable relief requiring restitution and disgorgement of the
23
                  revenues wrongfully retained as a result of Defendant’s wrongful
24
25                conduct;

26            e) Ordering Defendant to pay for not less than seven years of credit
27
                  monitoring services for Plaintiffs and the Class;
28
                                 CLASS ACTION COMPLAINT
                                            48
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             f) For an award of actual damages, compensatory damages, statutory
 1
 2              damages, and statutory penalties, in an amount to be determined, as
 3
                allowable by law;
 4
             g) For an award of punitive damages, as allowable by law;
 5
 6           h) For an award of statutory damages pursuant to California Civil Code
 7
                § 1798.150 in an amount not less than one hundred dollars ($100) and
 8
                not greater than seven hundred and fifty ($750) per consumer per
 9
10              incident or actual damages, whichever is greater;
11
             i) For an award of attorneys’ fees and costs, and any other expense,
12
13              including expert witness fees;

14           j) Pre- and post-judgment interest on any amounts awarded; and
15
             k) Such other and further relief as this court may deem just and proper.
16
17                             JURY TRIAL DEMAND

18                Plaintiffs demands a jury trial on all issues so triable.
19
20
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                               CLASS ACTION COMPLAINT
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     Dated: September 9, 2020           Respectfully submitted,
 1
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16                                      * Pro Hac Vice Application to be submitted
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